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     Plaintiff ID                     Plaintiff Name                   Law Firm Name               Admin Docket Case Number   Active Docket Case Number
1      390381       Blackston, Jason                   Aylstock, Witkin, Kreis & Overholtz, PLLC                                3:23-cv-11884-MCR-HTC
2      390409       Johnson, Toy                       Aylstock, Witkin, Kreis & Overholtz, PLLC                                3:23-cv-11912-MCR-HTC
3      98626        Medeiros, James Sylvester          Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-01057-MCR-HTC
4      411467       Miller, Daniel Eugene              Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-04942-MCR-HTC
5      415345       Mitchell, William                  Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-02654-MCR-HTC
6      411138       Rine, Robert                       Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-05293-MCR-HTC
7      411288       Roberts, Geraldo Ray               Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-04583-MCR-HTC
8      410541       Sherwood, James E.                 Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-01041-MCR-HTC
9      390445       Smith, Sean                        Aylstock, Witkin, Kreis & Overholtz, PLLC                                3:23-cv-11924-MCR-HTC
10     411263       Vazquez, Eric                      Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-04514-MCR-HTC
11     221134       Weers, Kyle                        Aylstock, Witkin, Kreis & Overholtz, PLLC                                8:20-cv-65066-MCR-HTC
12     390468       Williams, Doyle                    Aylstock, Witkin, Kreis & Overholtz, PLLC                                3:23-cv-11851-MCR-HTC
13     413015       Wiseman, Jeffrey Daniel            Aylstock, Witkin, Kreis & Overholtz, PLLC     9:23-cv-06789-MCR-HTC
14     427576       Barnes, Sandra                     Brent Coon & Associates                                                  8:23-cv-00710-MCR-HTC
15     427587       Brown, Dana                        Brent Coon & Associates                                                  8:23-cv-00578-MCR-HTC
16     427252       Ohm, Jason                         Brent Coon & Associates                                                  8:23-cv-00657-MCR-HTC
17     427347       Ward, Joann                        Brent Coon & Associates                                                  8:23-cv-00750-MCR-HTC
18     427350       Watts, William                     Brent Coon & Associates                                                  8:23-cv-00793-MCR-HTC
19     448185       Abraham, Timothy                   Watts Guerra, LLP                             9:23-cv-23775-MCR-HTC
20     448717       Azocar, Rene                       Watts Guerra, LLP                             9:23-cv-34597-MCR-HTC
21     446693       Ball, Bryson                       Watts Guerra, LLP                             9:23-cv-31043-MCR-HTC
22     435717       Baskas, Daniel                     Watts Guerra, LLP                             9:23-cv-19360-MCR-HTC
23     446558       Bates, Jimmy                       Watts Guerra, LLP                             9:23-cv-22513-MCR-HTC
24     448425       Baughman, James                    Watts Guerra, LLP                             9:23-cv-34194-MCR-HTC
25     448692       Bigham, Scott                      Watts Guerra, LLP                             9:23-cv-24268-MCR-HTC
26     447128       Bodtke, Benjamin                   Watts Guerra, LLP                             9:23-cv-31338-MCR-HTC
27     447569       Boyer, Benjamin                    Watts Guerra, LLP                             9:23-cv-23427-MCR-HTC
28     446577       Brooks, Chad                       Watts Guerra, LLP                             9:23-cv-30825-MCR-HTC
29     446590       Broome, Jason                      Watts Guerra, LLP                             9:23-cv-30855-MCR-HTC
30     448731       Buchwald, Carey                    Watts Guerra, LLP                             9:23-cv-34620-MCR-HTC
31     448314       Campbell, Zachary                  Watts Guerra, LLP                             9:23-cv-23898-MCR-HTC
32     447006       Card, Eric                         Watts Guerra, LLP                             9:23-cv-16343-MCR-HTC
33     447010       Carey, Thomas                      Watts Guerra, LLP                             9:23-cv-16362-MCR-HTC
34     448720       Cavazospadron, Cesar               Watts Guerra, LLP                             9:23-cv-24351-MCR-HTC
35     447354       Clements, Errol                    Watts Guerra, LLP                             9:23-cv-23315-MCR-HTC
36     447390       Collins, Allen                     Watts Guerra, LLP                             9:23-cv-31959-MCR-HTC
37     448204       Coons, Matt                        Watts Guerra, LLP                             9:23-cv-33674-MCR-HTC
38     448602       Coppernoll, Cody                   Watts Guerra, LLP                             9:23-cv-21786-MCR-HTC
39     447064       Corbett, Ian                       Watts Guerra, LLP                             9:23-cv-23057-MCR-HTC
40     448045       Cormier, Kevin                     Watts Guerra, LLP                             9:23-cv-33380-MCR-HTC
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41     447249       Delcollo, Timothy                  Watts Guerra, LLP                    9:23-cv-23235-MCR-HTC
42     448694       Dreslinski, Dylan                  Watts Guerra, LLP                    9:23-cv-24277-MCR-HTC
43     446972       Dufresne, Joseph                   Watts Guerra, LLP                    9:23-cv-22983-MCR-HTC
44     446899       Durham, Jimmy                      Watts Guerra, LLP                    9:23-cv-22818-MCR-HTC
45     447541       Flores, Jeffery                    Watts Guerra, LLP                    9:23-cv-32297-MCR-HTC
46     448152       Foster, Timothy                    Watts Guerra, LLP                    9:23-cv-23760-MCR-HTC
47     446925       Fowler, Quentin                    Watts Guerra, LLP                    9:23-cv-22860-MCR-HTC
48     440180       Frazier, Sean                      Watts Guerra, LLP                    9:23-cv-19860-MCR-HTC
49     447681       Gaston, Timothy                    Watts Guerra, LLP                    9:23-cv-32608-MCR-HTC
50     446686       Gilmore, Matt                      Watts Guerra, LLP                    9:23-cv-15822-MCR-HTC
51     441364       Gomez, Roland                      Watts Guerra, LLP                    9:23-cv-25085-MCR-HTC
52     446731       Gomez, William                     Watts Guerra, LLP                    9:23-cv-22664-MCR-HTC
53     448901       Green, James                       Watts Guerra, LLP                    9:23-cv-31395-MCR-HTC
54     447914       Gutierrez, Genaro                  Watts Guerra, LLP                    9:23-cv-23623-MCR-HTC
55     71718        Hahn, Michael                      Watts Guerra, LLP                    9:23-cv-18032-MCR-HTC
56     448649       Hall, Keith                        Watts Guerra, LLP                    9:23-cv-34525-MCR-HTC
57     437236       Harris, Joshua                     Watts Guerra, LLP                    9:23-cv-19405-MCR-HTC
58     452689       Harris, Ken                        Watts Guerra, LLP                    9:23-cv-19939-MCR-HTC
59     447367       Hauser, Cory                       Watts Guerra, LLP                    9:23-cv-17110-MCR-HTC
60     447691       Hawks, Bryan                       Watts Guerra, LLP                    9:23-cv-32631-MCR-HTC
61     447032       Hengst, Mervin                     Watts Guerra, LLP                    9:23-cv-31129-MCR-HTC
62     446809       Henry, John                        Watts Guerra, LLP                    9:23-cv-16000-MCR-HTC
63     447395       Hickle, Austin                     Watts Guerra, LLP                    9:23-cv-23326-MCR-HTC
64     448834       Hollingshead, Justin               Watts Guerra, LLP                    9:23-cv-21956-MCR-HTC
65     447374       Hughes, Juin                       Watts Guerra, LLP                    9:23-cv-31918-MCR-HTC
66     438796       Humpherys, Daniel                  Watts Guerra, LLP                    9:23-cv-18715-MCR-HTC
67     448369       Hymes, Adam                        Watts Guerra, LLP                    9:23-cv-34047-MCR-HTC
68     447396       Ifft, Joseph                       Watts Guerra, LLP                    9:23-cv-31974-MCR-HTC
69     448744       Jackson, James                     Watts Guerra, LLP                    9:23-cv-24381-MCR-HTC
70     447911       Johnson, Curtis                    Watts Guerra, LLP                    9:23-cv-33073-MCR-HTC
71     447214       Jones, Andy                        Watts Guerra, LLP                    9:23-cv-31521-MCR-HTC
72     447274       Jones, Desmond                     Watts Guerra, LLP                    9:23-cv-23265-MCR-HTC
73     447802       Jordan, Earnest                    Watts Guerra, LLP                    9:23-cv-32854-MCR-HTC
74     446445       Khan, Joseph                       Watts Guerra, LLP                    9:23-cv-18658-MCR-HTC
75     446867       Koss, Timothy                      Watts Guerra, LLP                    9:23-cv-16089-MCR-HTC
76     448883       Leal, Hector                       Watts Guerra, LLP                    9:23-cv-24469-MCR-HTC
77     447775       Lindsey, Lance                     Watts Guerra, LLP                    9:23-cv-17923-MCR-HTC
78     447891       Lisbon, Christopher                Watts Guerra, LLP                    9:23-cv-21203-MCR-HTC
79     447959       Lockard, Brandee                   Watts Guerra, LLP                    9:23-cv-33156-MCR-HTC
80     446752       Madden, David                      Watts Guerra, LLP                    9:23-cv-15923-MCR-HTC
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81      448067       Marrin, Harry                      Watts Guerra, LLP                    9:23-cv-23675-MCR-HTC
82      447915       Mcgahee, Christopher               Watts Guerra, LLP                    9:23-cv-23625-MCR-HTC
83      446940       Mcswain, Charles                   Watts Guerra, LLP                    9:23-cv-16224-MCR-HTC
84      448808       Medley, Keith                      Watts Guerra, LLP                    9:23-cv-24413-MCR-HTC
85      448084       Mendoza, Stephen                   Watts Guerra, LLP                    9:23-cv-23710-MCR-HTC
86      448099       Meola, Daniel                      Watts Guerra, LLP                    9:23-cv-33467-MCR-HTC
87      448595       Miller, Lonnie                     Watts Guerra, LLP                    9:23-cv-21781-MCR-HTC
88      448415       Mills, Cory                        Watts Guerra, LLP                    9:23-cv-34171-MCR-HTC
89      447494       Morgan, David                      Watts Guerra, LLP                    9:23-cv-17297-MCR-HTC
90      453007       Morris, Ray                        Watts Guerra, LLP                    9:23-cv-19637-MCR-HTC
91      447790       Moyer, Chad                        Watts Guerra, LLP                    9:23-cv-32821-MCR-HTC
92      447835       Navari, Paul                       Watts Guerra, LLP                    9:23-cv-32923-MCR-HTC
93      448015       Nealon, Matthew                    Watts Guerra, LLP                    9:23-cv-33303-MCR-HTC
94      448332       Nichols, Thomas                    Watts Guerra, LLP                    9:23-cv-33957-MCR-HTC
95      443942       Nickels, Jason                     Watts Guerra, LLP                    9:23-cv-18652-MCR-HTC
96      447296       Nickola, Justin                    Watts Guerra, LLP                    9:23-cv-16992-MCR-HTC
97      446884       Nisbet, Russell                    Watts Guerra, LLP                    9:23-cv-31544-MCR-HTC
98      447874       Odell, Cody                        Watts Guerra, LLP                    9:23-cv-21191-MCR-HTC
99      437381       Olson, David                       Watts Guerra, LLP                    9:23-cv-18574-MCR-HTC
100     448238       Otteni, Kevin                      Watts Guerra, LLP                    9:23-cv-21503-MCR-HTC
101     443446       Owens, Richard                     Watts Guerra, LLP                    9:23-cv-18577-MCR-HTC
102     443208       Parker, Nicholas                   Watts Guerra, LLP                    9:23-cv-20061-MCR-HTC
103     448432       Perhus, James                      Watts Guerra, LLP                    9:23-cv-21643-MCR-HTC
104     448428       Poff, Brian                        Watts Guerra, LLP                    9:23-cv-34202-MCR-HTC
105     448292       Poole, Corey                       Watts Guerra, LLP                    9:23-cv-21525-MCR-HTC
106     446679       Poore, Gregory                     Watts Guerra, LLP                    9:23-cv-31007-MCR-HTC
107     446600       Powell, Marvin                     Watts Guerra, LLP                    9:23-cv-30877-MCR-HTC
108     446950       Pruitt, John                       Watts Guerra, LLP                    9:23-cv-16253-MCR-HTC
109     447597       Ralston, Bruce                     Watts Guerra, LLP                    9:23-cv-17535-MCR-HTC
110     447438       Rawlings, Gerald                   Watts Guerra, LLP                    9:23-cv-32095-MCR-HTC
111     446535       Ray, Bradley                       Watts Guerra, LLP                    9:23-cv-22508-MCR-HTC
112     447369       Raynor, Adam                       Watts Guerra, LLP                    9:23-cv-17118-MCR-HTC
113     447170       Repka, Joshua                      Watts Guerra, LLP                    9:23-cv-16826-MCR-HTC
114     446829       Rigdon, Thomas                     Watts Guerra, LLP                    9:23-cv-16046-MCR-HTC
115     447492       Robinson, Matthew                  Watts Guerra, LLP                    9:23-cv-32187-MCR-HTC
116     447842       Robison, Matthew                   Watts Guerra, LLP                    9:23-cv-32940-MCR-HTC
117     447337       Sanford, Dana                      Watts Guerra, LLP                    9:23-cv-23298-MCR-HTC
118     448656       Shaffer, Bobby                     Watts Guerra, LLP                    9:23-cv-21821-MCR-HTC
119     448909       Shaw, Jacob                        Watts Guerra, LLP                    9:23-cv-22013-MCR-HTC
120     447556       Slusser, Lee                       Watts Guerra, LLP                    9:23-cv-17470-MCR-HTC
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121     448284       Smith, Everett                     Watts Guerra, LLP                    9:23-cv-33835-MCR-HTC
122     447896       Stadelmaier, Ryan                  Watts Guerra, LLP                    9:23-cv-33040-MCR-HTC
123     447425       Stanley, Jeffry                    Watts Guerra, LLP                    9:23-cv-17176-MCR-HTC
124     452544       Strasser, Donald                   Watts Guerra, LLP                    9:23-cv-19926-MCR-HTC
125     447324       Thompson, Brad                     Watts Guerra, LLP                    9:23-cv-31817-MCR-HTC
126     448462       Thompson, Chris                    Watts Guerra, LLP                    9:23-cv-24031-MCR-HTC
127     448542       Vanorman, Tyler                    Watts Guerra, LLP                    9:23-cv-21725-MCR-HTC
128     453908       Vigil, Joshua                      Watts Guerra, LLP                    9:23-cv-19366-MCR-HTC
129     448137       Wass, Michael                      Watts Guerra, LLP                    9:23-cv-33549-MCR-HTC
130     441838       Watts, David                       Watts Guerra, LLP                    9:23-cv-24466-MCR-HTC
131     448285       Wells, Daniel                      Watts Guerra, LLP                    9:23-cv-33839-MCR-HTC
132     447925       White, Michael                     Watts Guerra, LLP                    9:23-cv-21224-MCR-HTC
133     448592       Whitfield, William                 Watts Guerra, LLP                    9:23-cv-34437-MCR-HTC
134     448222       Yashinski, Joshua                  Watts Guerra, LLP                    9:23-cv-33739-MCR-HTC
135     434318       Zamora, George                     Watts Guerra, LLP                    9:23-cv-14223-MCR-HTC
